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        IN THE UNITED STATES DISTRICT COURT FOR
            THE EASTERN DISTRICT OF ARKANSAS
                     DELTA DIVISION

STATES OF TENNESSEE, ARKANSAS,
ALABAMA, FLORIDA, GEORGIA,
IDAHO, INDIANA, IOWA, KANSAS,
MISSOURI, NEBRASKA, NORTH
DAKOTA, OKLAHOMA, SOUTH
CAROLINA, SOUTH DAKOTA, UTAH,
and WEST VIRGINIA,                         Civil No. 2:24-cv-84 DPM
                                           District Judge D. P. Marshall
                           Plaintiffs,     Magistrate Judge Edie R. Ervin

                   v.

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

                           Defendant.



Memorandum of Law for the States of New York, Arizona, California,
 Colorado, Connecticut, Delaware, Hawai'i, Illinois, Maine, Maryland,
Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico,
    North Carolina, Oregon, Pennsylvania, Rhode Island, Vermont
     Washington, and Wisconsin, and the District of Columbia as
     Amici Curiae in Support of Defendant and in Opposition to
               Plaintiffs' Motion for Preliminary Relief
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             INTRODUCTION AND INTERESTS OF AMICI

     Amici States of New York, Arizona, California, Colorado, Connecticut,

Delaware, Hawai'i, Illinois, Maine, Maryland, Massachusetts, Michigan,

Minnesota, Nevada, New Jersey, New Mexico, North Carolina, Oregon,

Pennsylvania, Rhode Island, Vermont, Washington, and Wisconsin, and the·

District of Columbia submit this brief in support of defendant Equal

Employment Opportunity Commission's opposition to plaintiffs' motion for a

stay of the effective date and a preliminary injunction against enforcement of

the Commission's regulations implementing the Pregnant Workers Fairness

Act of 2022 (PWFA). 1 The PWFA requires that employers provide pregnant

and postpartum workers with reasonable accommodations to retain their

employment and avoid health risks unless doing so would create an undue

hardship to the employer. At Congress's direction, the Commission promul-

gated rules to implement the PWFA and provided interpretive guidance to

employers.

     Amici strongly support the urgent aims of the PWFA and the

Commission's regulations. Nearly 57 percent of all women in the United States


      1 See Pub. L. No. 117-328, Div. II, 136 Stat. 4459, 6084 (2022) (codified

at 42 U.S.C. § 2000gg-2000gg-6).
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are part of the current labor force. 2 Approximately 85 percent of female

workers will become pregnant at some point during their careers and most

pregnant persons will work throughout their pregnancy. Moreover, nearly

three-quarters of women will return to the workforce within months after

giving birth. Supporting the ability of pregnant and postpartum workers to

remain in the workforce through reasonable accommodations is critical to the

nation's economy. Pregnant and postpartum employees fill important jobs in

vital sectors and contribute to the public fisc by, among other things,

purchasing goods and services and paying taxes. The economic contributions

of pregnant and postpartum employees promote the long-term stability and

well-being of families and communities, including millions of young children,

disabled persons, and the elderly.

      In this action, plaintiffs challenge one aspect of the Commission's

implementing regulations-the requirement that employers provide reasonable

accommodations to all persons whose pregnancies have terminated, whether

by miscarriage, stillbirth, or abortion. Contrary to plaintiffs' arguments, the


      2 Although much of the available statistical data focuses on women's

participation in the workforce, amici recognize that transgender and nonbinary
individuals may also become pregnant and underscore that all pregnant persons
are entitled to the protections of the PWFA and the Commission's regulations.
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Commission was not required to interpret the statutory term "pregnancy,

childbirth, or related medical conditions" to encompass conditions related only

to viable pregnancies or live births. Courts and the Commission have long

interpreted an identical term in the Pregnancy Discrimination Act to prohibit

discrimination based on a range of pregnancy-related conditions, including a

person's decision to terminate or not to terminate a pregnancy, and plaintiffs

offer no persuasive reason to depart from that interpretation here.

      In addition, plaintiffs grossly overstate the consequences of the

Commission's rule. Nothing in the regulation requires employers to pay for

any employee to have an abortion or to enable abortions that are illegal under

state law. All the rule requires is for employers to reasonably accommodate

workers whose pregnancies have terminated by abortion; such an accommoda-

tion is likely achieved in most instances by providing leave either to attend a

medical appointment or for recovery. Plaintiffs do not contest that the PWF A

requires comparable accommodations for a person whose pregnancy terminates

by miscarriage or stillbirth and offer no statutory basis to distinguish between

such individuals and a person whose pregnancy has terminated by abortion.

      Finally, plaintiffs fail to justify the mismatch between the limited nature

of their legal challenge and the broad relief sought in this motion. Although
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plaintiffs challenge only a minor portion of a single regulatory definition, they

ask this Court to stay the enforcement date of the entire rule under 5 U.S.C.

§ 705. Such a stay could apply nationwide, including in amici States. And

although several of plaintiffs' legal arguments are premised on the PWF A's

application to state employers, they appear to seek a preliminary injunction as

to all employers without explaining why such relief is necessary to remedy the

allegedly improper application to state employers. This sweeping preliminary

relief could have the effect of depriving both employers and pregnant workers

nationwide of the clarity and finality provided by the final rule's numerous

provisions. If this Court determines that preliminary relief is warranted, it

should tailor any such relief to be no greater than what is necessary to address

plaintiffs' particular claims.




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                                 ARGUMENT

I.      THE PREGNANT WORKERS FAIRNESS ACT PROVIDES
        CRITICAL WORKPLACE PROTECTIONS

        According to the U.S. Bureau of Labor Statistics, nearly 77 million

women are currently in the national labor force. 3 Approximately 85 percent of

women in the workforce will experience pregnancy at some point during their

careers. 4 Nearly 70 percent of pregnant employees work throughout their preg-

nancy, and most people who give birth return to the workforce within months

after childbirth. 5

        Notwithstanding state and federal efforts to address the issue, workplace

pregnancy discrimination continues to be pervasive and harmful. Thousands



        National P'ship for Women & Fams., Fact Sheet, The Pregnant
        3

Workers Fairness Act 3 (Feb. 2021) (citing Bureau of Lab. Stat., U.S. Dep't of
Lab., Labor Force Participation for Women Highest in the District ofColumbia
in 2022 (Mar. 7, 2023)). (For authorities available on the internet, full URLs
appear in the Table of Authorities.)
      4 See Jessica Mason & Katherine Gallagher Robbins, Nat'l P'ship for

Women & Fams., Issue Br., Discrimination While Pregnant (Oct. 2022); Nancy
L. Marshall & Allison J. Tracy, After the Baby: Work-Family Conflict and
Working Mothers' Psychological Health, 58 Fam. Relations 380 (2009); U.S.
Census Bureau, Fertility of Women in the United States: 2016, tbl. 6 (May
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      5 Lynda Laughlin, U.S. Census Bureau, Maternity Leave and Employ-

ment Patterns o(First-Time Mothers, 1961-2008 (Household Econ. Stud. No.
70-128, Oct. 2011 ).
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of pregnant and postpartum persons struggle to obtain reasonable accommo-

dations that would allow them to maintain their jobs while safely managing

their pregnancies and childbirths. Many women have left or considered leaving

their jobs due to the lack of accommodation or fear of discrimination. 6 Indeed,

only 60 percent of women with children under the age of 3 are currently

employed, with the remainder either unemployed or out of the labor force

entirely. 7 By comparison, nearly 72 percent of women with children between

the ages of 6 and 17 are currently employed. 8

      Job loss due to pregnancy discrimination not only impoverishes

individual workers and their families when it happens, but it can affect their

economic security for decades, as workers lose access to various benefits such

as retirement contributions, disability benefits, seniority, pensions, social

security contributions, and life insurance at a time when they need these benefits

most. At the same time, pregnant workers who remain in their jobs and work

without reasonable accommodations face risks to their physical, mental, and



      6 Ben Gitis et al., Bipartisan Pol'y Ctr., 1 in 5 Moms Experience
Pregnancy Discrimination in the Workplace (Feb. 11, 2022).
     7 Bureau of Lab. Stat., U.S. Dep't of Lab., Women in the Labor Force:

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     8 Id

                                     6
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emotional health, which can result in severe adverse medical impacts including

death.

         The consequences for workers forced to decide between keeping their

jobs and protecting their health are acutely felt by low-income persons and

workers of color. Nearly one in six pregnant workers work in low-paying jobs,

with Black and Latinx pregnant workers disproportionately represented. 9 Low-

payingjobs are more likely to be physically demanding and often have a higher

need for accommodations. 10 Yet suchjobs also offer far less flexibility in sched-

uling work shifts to accommodate pregnancy-related limitations, such as need

for breaks, and are less likely to offer paid leave in connection with

childbirth. 11 Due at least in part to these factors, poor workers and persons of

color are much more likely to suffer negative health outcomes during

pregnancy than white workers. 12




        Jasmine Tucker et al., Nat'l Women's Law Ctr., Fact Sheet, Pregnant
         9

Workers Need Accommodations for Safe and Health Workplaces 4 (Oct. 2021).
      10 Id. at 3-4.

      11 Id. at 4.

      12 U.S. Office of the President, Blueprint for Addressing the Maternal

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Bureau of Econ. Rsch., Working Paper No. 30,693, 2022).
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      Enacted in 2022, the PWFA is a landmark civil rights statute that requires

covered employers to provide pregnant and postpartum workers with "reason-

able accommodations to the known limitations related to ... pregnancy, child-

birth, and related medical conditions" unless doing so would pose an undue

hardship to the employer. See 42 U.S.C. § 2000gg-l(l). The statute also prohib-

its employers from retaliating against workers who request or use a reasonable

accommodation and requires employers to engage in an interactive process to

determine the appropriate accommodation. Id § 2000gg-1(2)-(5).

      The PWFA provides substantial protections beyond those provided by

preexisting federal law and fills in many gaps left by inconsistent state law

protections. 13 For example, the federal Pregnancy Discrimination Act, 42

U.S.C. § 2000e(k), requires employers to provide temporary accommodations

to pregnant workers only if the worker can identify nonpregnant employees

who are "similar in their ability or inability to work" and have already received

accommodations. See Young v. United Parcel Serv., Inc., 575 U.S. 206, 229

(2015). The federal Family and Medical Leave Act, 29 U.S.C. § 2601 et. seq.,

requires employers to offer unpaid time off for pregnancy and childbirth, but


      13 For a table of relevant state law protections, see Implementation of the

Pregnant Workers Fairness Act, 89 Fed. Reg. 29,096, 29,170-71 (Apr. 19, 2024).
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millions of workers are statutorily ineligible for its protections and many others

are simply unable to afford taking advantage ofthem. 14 The federal Americans

with Disabilities Act requires employers to provide an accommodation to

certain pregnant workers who have a disability related to the pregnancy, but

the statute does not recognize pregnancy itself as a disability. See 42 U.S.C.

§ 12102(2), (4); 29 C.F.R. § 1630.2(h). Finally, various federal provisions

require accommodations for lactating employees, but they provide specific and

limited protections and do not apply equally across industries. 15


II.      THE COMMISSION REASONABLY INTERPRETED THE PREGNANT
         WORKERS FAIRNESS ACT TO REQUIRE REASONABLE
         ACCOMMODATIONS FOR ABORTION CARE

         In the PWF A, Congress directed the Commission to promulgate

implementing regulations, including "examples of reasonable accommoda-

tions addressing known limitations related to pregnancy, childbirth, or related

medical conditions." 42 U.S.C. § 2000gg-3(a). In September 2023, the

Commission issued a notice of proposed rulemaking addressing each of the


         14 Scott Brown et al., Employee and Work.site Perspectives o(the Family

and Medical Leave Act: Executive Summary for Results from the 2018 Surveys
3 (2020).
      15 See Wage & Hour Div., U.S. Dep't of Lab., Fact Sheet No. 73, FLSA

Protections for Employees to Pump Breast Milk at Work (Jan. 2023).
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relevant statutory terms and providing a nonexhaustive list of examples of

reasonable accommodations for a variety of situations. See Regulations to

Implement the Pregnant Workers Fairness Act, 88 Fed. Reg. 54,714 (Aug. 11,

2023). In April 2024, the Commission finalized the rule, which is scheduled to

take effect on June 18, 2024. See Implementation of the Pregnant Workers

Fairness Act, 89 Fed. Reg. 29,096 (Apr. 19, 2024) (codified at 29 C.F.R. pt.

1636).

       In this lawsuit, plaintiffs challenge part of one definition contained in the

rule-namely the Commission's explanation that the term "pregnancy, child-

birth, or related medical conditions" includes, among other things, "termina-

tion of pregnancy, including via miscarriage, stillbirth, or abortion." 29 C.F.R.

§ 1636.3(b); see also 89 Fed. Reg. at 29,191 (portion of interpretive guidance

discussing abortion as a "related medical condition"). Contrary to plaintiffs'

argument (Pl. Mem. at 14-25), the Commission's interpretation is entirely

consistent with the PWF A's text and purposes, as well as with decades of case

law interpreting that same term in the context of the Pregnancy Discrimination

Act.

       First, plaintiffs ignore that, in requiring reasonable accommodations for

"known limitations related to the pregnancy, childbirth, or related medical
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conditions," the statutory text incorporates a definition of "limitations" as

including any "physical or mental condition related to, affected by, or arising

out ofpregnancy," 42 U.S.C. § 2000gg(4) (emphasis added). An employee's

limitation (i.e., the unavailability to work during usual hours) resulting from

the need to attend medical appointments or physically recover from the termina-

tion of a pregnancy falls well within the plain language of this expansive

statutory definition.

      The Commission's definition is also consistent with the meaning of the

term "related" as used in the term "related medical condition." As the Eighth

Circuit has explained, the term "related" has a "common meaning[] suffi-

ciently clear to be applied." Highwoods Props., Inc. v. Executive Risk Indem.,

Inc., 407 F.3d 917,924 (8th Cir. 2005). InHighwoods Properties, for example,

the Court looked to the Merriam-Webster Collegiate Dictionary, which defines

"related" as "connected by reason of an established or discoverable relation"

and defines "relation" as "an aspect or quality (as resemblance) that connects

two or more things or parts as being or belonging or working together or as

being of the same kind" to conclude that two lawsuits involving communica-

tions to shareholders arising from the same merger are sufficiently "related"

for purpose of insurance coverage. Id; see also Gregory v. Home Ins. Co., 876
                                      11
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F .2d 602, 606 (7th Cir. 1989) ("[T]he common understanding of the word

'related' covers a very broad range of connections, both causal and logical").

As noted below (at 16-17), courts routinely interpret the meaning of "related"

in the context of the Pregnancy Discrimination Act in accordance with this

plain meaning.

      Faced with the challenging task of explaining how the termination of a

pregnancy is unrelated to that pregnancy, plaintiffs instead argue that an

abortion is not a "condition" but rather a "procedure." (Pl. Mem. at 15). The

PWFA's requirement to accommodate employees' "limitations" expressly

incorporates any "physical or mental condition related to, affected by, or

arising out of' pregnancy-which would plainly encompass limitations

resulting from the need to obtain, as well as recover from, a range of medical

procedures or treatments for either the condition of pregnancy or the related

medical condition of pregnancy loss (whether through miscarriage, stillbirth,

or termination). Indeed, plaintiffs do not contest that an employee is entitled to

a reasonable accommodation in connection with a miscarriage or stillbirth but

offer no statutory basis for treating persons whose pregnancies have terminated

by abortion differently. In addition, plaintiffs fail to explain how the PWFA

could possibly achieve its goals if employees cannot receive accommodations
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for pregnancy- or childbirth-related procedures or medical treatments. For

example, under plaintiffs' reading of the statute, an employee could not ask for

a reasonable accommodation to facilitate attendance at a prenatal ultrasound

appointment or gestational diabetes screening.

      Alternatively, plaintiffs contend that an abortion is not a "medical"

condition, to the extent it is "an elective procedure[] ... for reasons unrelated

to maternal health." Id at 16. Plaintiffs also tout their restrictive abortion laws

as recognizing the distinction between purportedly "elective abortions" and

abortions deemed "medically necessary to prevent specified risks to the life or

health of a pregnant woman." Id at 16-17. However, plaintiffs offer no support

for the extraordinary suggestion that Congress intended to limit the term

"pregnancy, childbirth, or related medical conditions" by silent reference to

stringent state abortion bans. Moreover, plaintiffs' disapproval of certain

reasons for why an individual chooses to terminate a pregnancy does not

transform an abortion into a nonmedical procedure. 16

      Additionally, plaintiffs fail to address the obvious fact that people often

obtain abortions for medical reasons that do not qualify for the narrow health


       Am. Coll. of Obstetricians & Gynecologists, ACOG Guide to
      16

Language and Abortion (Sept. 2023).
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exceptions offered by plaintiffs and similarly situated States. Indeed, six States,

including plaintiffs Arkansas, Idaho, Oklahoma, and South Dakota, offer no

express health exception at all. 17 And as for the States that do have health

exceptions to abortion bans, most are defined extremely narrowly in a way that

chills providers from offering abortion care in all but the most dangerous

instances. For example, plaintiff Georgia allows an abortion only "to prevent

the death of the pregnant woman or the substantial and irreversible physical

impairment of a major bodily function." Ga. Code Ann. § 16-12-14l(a)(3)

(emphasis added). In addition, multiple States, including plaintiffs Tennessee,

Georgia, Florida, Idaho, Iowa, and West Virginia, expressly prohibit abortion

care based on considerations of mental and emotional health. 18

      As numerous widely reported stories have revealed, purported health

exceptions to abortion bans fall far short of encompassing all of the medical

reasons for why a person may choose to terminate a pregnancy. 19 For example,



      17 See Ivette Gomez et al., KFF, Abortions Later in Pregnancy in a Post-

Dobbs Era. fig. 5 (Feb. 21, 2024).
      18 Mabel Felix et al., KFF, A Review o(Exceptions in State Abortion

Bans: Implications for the Provision ofAbortion Services (May 18, 2023).
      19 Daniel Grossman et al., ANSIRH, Care Post-Roe: Documenting Cases

of Poor-Quality Care Since the Dobbs Decision 7-9 (May 2023): Kavitha
                                                                 (continued on the next page)


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a recent study of maternal morbidity at two Texas hospitals evaluated pregnant

patients who presented at a hospital with severe complications but received

observation-only care until they developed an immediate threat to their life,

their fetus no longer had cardiac activity, or they spontaneously went into

labor. The rate of serious maternal morbidity for these Texas patients (57

percent) was nearly double the rate for patients with similar complications in

other States who were able to immediately terminate their pregnancies (33

percent). 20

      Second, as the Commission recognized (see 89 Fed. Reg. at 29,099),

Congress's use of the term "pregnancy, childbirth, or related medical

conditions" in the PWFA mirrors the use of the same term in the Pregnancy

Discrimination Act. See 42 U.S.C. § 2000e(k). Congress's "repetition of the

same language in a new statute indicates, as a general matter, the intent to



Surana, Doctors Warned Her Pregnancy Could Kill Her. Then Tennessee
Outlawed Abortion, ProPublica (Mar. 14, 2023) (identifying in "news articles,
medical journal studies and lawsuits ... at least 70 examples across 12 states of
women with pregnancy complications who were denied abortion care or had
the treatment delayed since Roe was overturned").
       20 Anjali Nambiar et al., Research Letter, Maternal Morbidity and Fetal

Outcomes Among Pregnant Women at 22 Weeks' Gestation or Less with
Complications in 2 Texas Hospitals After Legislation on Abortion, 227 Am. J.
Obstetrics & Gynecology 648, 649 (2022).
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incorporate its administrative and judicial interpretations as well." Bragdon v.

Abbott, 524 U.S. 624, 645 (1998); see also Texas Dep 't ofHous. & Cmty. Affs.

v. Inclusive Cmtys. Project, Inc., 576 U.S. 519, 536 (2015). This statutory-

interpretation canon is especially salient here, where the PWFA was enacted to

supplement the Pregnancy Discrimination Act's accommodation requirements.

      Plaintiffs cannot dispute that the Pregnancy Discrimination Act's

definition of "pregnancy, childbirth, or related medical condition" has long

been interpreted to prohibit discrimination based on the decision to terminate

(or not to terminate) a pregnancy. See, e.g., Doe v. C.A.R.S. Prot. Plus, Inc.,

527 F.3d 358, 364 (3d Cir. 2008); Turic v. Holland Hospitality, Inc., 85 F.3d

1211, 1214 (6th Cir. 1996); Ducharme v. Crescent City Deja vu, LLC, 406 F.

Supp. 3d 548,556 (E.D. La. 2019), and a range of other conditions and medical

treatments relating to pregnancy and childbirth, Hicks v. City of Tuscaloosa,

870 F.3d 1253, 1260 (11th Cir. 2017) (lactation); EEOC v. Houston Funding

IL Ltd, 717 F.3d 425,428 (5th Cir. 2013) (same); Kocakv. Community Health

Partners ofOhio, Inc., 400 F.3d 466,470 (6th Cir. 2005) (potential pregnancy);

Reilly v. Revlon, Inc., 620 F. Supp. 2d 524, 544 (S.D.N.Y. 2009) (poten-

tial pregnancy). This broad interpretation is consistent with the statutory text

and purpose of the Pregnancy Discrimination Act, which was ''to clarify that
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the protections of Title VII "extend[] to the whole range of matters concerning

the childbearing process," and "to include the[] physiological occurrences

peculiar to women." Hicks, 870 F.3d at 1260 (quoting H.R. Rep. No. 95-948,

at 5 (1978); S. Rep. No. 95-331, at 4 (1977)). See also International Union,

United Auto., Aerospace & Agric. Implement Workers of Am. v. Johnson

Controls, Inc., 499 U.S. 187, 198-99 (1991) (discrimination based on capacity

to become pregnant constituted prohibited discrimination based on sex and

pregnancy under Title VII as amended by the PDA).

      The only contrary authority cited by plaintiffs (Pl. Mem. at 18-19) does

not deal with abortion at all, and instead held that the Pregnancy Discrim-

ination Act does not apply to discrimination based on infertility or an

employer's decision to exclude insurance coverage for contraception. See, e.g.,

Krauel v. Iowa Methodist Med. Ctr., 95 F.3d 674, 679 (8th Cir. 1996); In re

Union Pac. R.. R Emp. Pracs. Litig., 479 F.3d 936, 942 (8th Cir. 2007). But

those decisions turned on facts showing that the conditions in question were

not necessarily sex-linked. Indeed, other courts have readily found discrimi-

nation based on fertility-related considerations. See, e.g., Hall v. Nalco Co.,

534 F.3d 644, 649 (7th Cir. 2008) (employer's practice of terminating



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employees who took leave for IVF treatment violated the Pregnancy Discrim-

ination Act). As the Commission appropriately explained in this rulemaking,

"whether infertility and fertility treatments are covered by the PWFA will be

based on the particular circumstances of the situation" because such conditions

may be experienced by individuals regardless of sex. 89 Fed. Reg. at 29,102.

      Third, the Commission's inclusion of abortion in the definition of

"related medical condition" reasonably provides equal protection for all

employees whose pregnancies have terminated regardless of the reason for that

termination. See supra at 12-13. Indeed, plaintiffs fail to explain why the

requirement to accommodate abortion is so onerous given that employers have

to offer comparable (if not more extensive) accommodations to persons who

have lost a pregnancy due to miscarriage or stillbirth. See id. at 29,104

(explaining that "the type of accommodation that most likely will be sought

under the PWFA regarding an abortion is time off to attend a medical

appointment or for recovery").

      Finally, plaintiffs greatly overstate the rule's practical effects. See Pl.

Mem. at 32-34. The regulation specifies that, consistent with the statutory text,

the PWFA does not require employers to pay for abortions or provide

healthcare benefits for abortion in violation of state law. See 89 Fed. Reg. at
                                       18
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29, 104, 29,109. Likewise, "[t]he rule does not prescribe when, where, or under

what circumstances an abortion can be obtained or what procedures may be

used." Id. at 29,112. An employer is not required to provide paid leave to an

employee obtaining an abortion, and any request for an accommodation under

the PWFA is subject to applicable exceptions and defenses, including, for

example, those based on undue hardship. Id. at 29, 104-05. Plaintiffs fail to

explain why these protections are insufficient to address their concerns, or why

case-by-case adjudication is unlikely to remedy a future hypothetical conflict

between the regulation and state law.


Ill.   IF THE MOTION IS GRANTED, ANY PRELIMINARY RELIEF
       SHOULD BE NARROWLY TAILORED.

       A federal court's equitable powers are founded on the bedrock principle

that "injunctive relief should be no more burdensome to the defendant than

necessary to provide complete relief to the plaintiffs." Califano v. Yamasaki,

442 U.S. 682, 702 (1979). The court's power to stay the effective date of

agency action under the Section 705 of the Administrative Procedure Act is

cabined by the same substantive factors and equitable principles governing

preliminary injunctive relief. See, e.g., Colorado v. U.S. Env 't Prot. Agency,



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989 F.3d 874, 883 (I 0th Cir. 2021 ); Cook Cnty. v. Wolf, 962 F.3d 208, 221 (7th

Cir. 2020).

      Careful consideration of the scope of injunctive relief is especially

important in the preliminary injunction posture, where briefing often proceeds

on an expedited basis and a court makes only a prediction of the likelihood of

success on the merits. See Narragansett Indian Tribe v. Guilbert, 934 F .2d 4,

6 (1st Cir. 1991). In this case, plaintiffs' requested preliminary relief far

exceeds the nature of the alleged violation.

      First, plaintiffs offer no justification for seeking a stay of the effective

date of the Commission's regulation in its entirety. Pl. Mot. for a§ 705 Stay &

Prelim. Inj. at 5 (May 3, 2024), ECF No. 17. Plaintiffs take no legal issue with

the vast majority of the rule and emphatically laud the purposes of the PWFA.

See Pl. Mem. at 2-3. The Commission's inclusion of abortion in a long list of

"pregnancy, childbirth, and related medical conditions" in no way affects the

validity of the remainder of the regulation, which contains a severability

provision in any event. See 29 C.F .R. § 1636.8. Moreover, staying the effective

date of the rule in its entirety to allow further litigation of plaintiffs' narrow

legal challenge would substantially undermine the interests of persons not

before the court, including millions of pregnant workers and their employers
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who stand to benefit from the rest of the clear guidelines provided by the

Commission's regulation.

      Second, although plaintiffs' request for a preliminary injunction is limited

to the provision of the rules requiring accommodation for abortion care,

plaintiffs do not explain how a preliminary injunction prohibiting the federal

government from enforcing the "abortion-accommodation mandate against the

interests of Plaintiff States" (Pl. Mot. at 5) is warranted under the circum-

stances of this case and on this record. For example, plaintiffs' constitutional

arguments and many of their arguments with respect to the equities (Pl. Mem.

at 25-28, 32-33) focus on alleged injuries to the States as employers subject to

regulation on the face of the PFWA. Plaintiffs fail to explain why a preliminary

injunction against enforcement of the regulation as to nonstate employers

would be warranted nevertheless. Accordingly, if the court determines that any

preliminary relief is warranted (and it should not), it should carefully tailor

such relief to reflect the specific claims at issue in this case rather than the

plaintiffs' general displeasure with federal rulemaking.




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                                CONCLUSION

      Plaintiffs' motion for preliminary relief should be denied, or in the

alternative, any preliminary relief should be appropriately tailored to address

the limited nature of plaintiffs' legal challenge.

Dated: New York, New York
       May 20, 2024
                                          Respectfully submitted,

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